                           UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF TENNESSEE
                                   AT KNOXVILLE

 CANDICE RANA SULFRIDGE,                )
                                        )
            Plaintiff,                  )
                                        )
 v.                                     ) No. 3:05-CV-188, 191, 202, & 203
                                        )     (Phillips/Guyton)
 JOHN HUFF, LARRY G. MOORE,             )
 JANETTE HARRIS, TIMOTHY HUTCHISON, )
 JOHN DOE I, JOHN DOE II, JOHN DOE III, )
 JOHN DOE IV, KNOX COUNTY,              )
 TENNESSEE, RANDY HINTON, and           )
 CHESTNUT STREET GARAGE, INC.,          )
                                        )
            Defendants.                 )
                                        )
 ADAM TRAVIS DAVIS,                     )
                                        )
            Plaintiff,                  )
                                        )
 V.                                     )
                                        )
 JOHN HUFF, TIMOTHY HUTCHISON,          )
 JOHN DOE DEPUTY SHERIFFS, and          )
 KNOX COUNTY, TENNESSEE,                )
                                        )
            Defendants.                 )

                                           ORDER

        This matter is before the Court upon plaintiff’s motion to revise the order compelling

 discovery [Doc. 140]. Plaintiff states that since the Court dismissed Sheriff Timothy

 Hutchison in his individual capacity and since Sheriff Hutchison is now a non-party, plaintiff

 Davis’ obligation to respond to Sheriff Hutchison’s interrogatories should be extinguished

 and that Sheriff Hutchison’s motion to compel should be denied. Plaintiff also states that,

 to his knowledge, none of the other defendants have filed written discovery requests.



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        Defendants respond in opposition stating that under Rule 33 of the Federal Rules

 of Civil Procedure, answers to interrogatories are to be served upon all parties, regardless

 of which party propounds the discovery. The defendants argue that, for reasons of judicial

 economy, it is not necessary for each defendant to propound the same discovery or to join

 in the same discovery in order to be entitled to responses of said discovery. Further,

 defendants assert that it would be duplicative for each defendant to have to propound the

 same discovery in order to be entitled to the responses to defendant’s discovery.

 Defendants also state that plaintiff Davis has been ordered twice by the Court to delivery

 discovery requests.



        The Court finds that, for reasons of judicial economy, plaintiff shall serve his

 discovery requests upon defendants on or before January 16, 2006. Thus, plaintiff’s

 motion [Doc. 142] is DENIED. The dispositive motion deadline date will be extended by 30

 days. As to plaintiff’s request for a discovery deposition in place of interrogatories, the

 Court finds that the parties, among themselves, may decide to forgo written discovery and

 merely conduct a deposition; however, the Court will not rule on the issue.



        IT IS SO ORDERED.


                                           ENTER:

                                                  s/ Thomas W. Phillips
                                                United States District Judge

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